     Case 1:20-cv-03384-VEC-KHP                         Document 24              Filed 10/12/20   Page 1 of 12




UNITED STATES DISTRICT COURT
SOUTHERN DISTRICT OF NEW YORK
- - - - - - - - - - - - - - - - - - - - - - - - - - - - - - - - - - - - - - - - -- x
                                                                                   :
BENTHOS MASTER FUND, LTD.,                                                         :
                                                                                   :
                                                   Petitioner,                     :     Case No. 20-cv-03384 (AJN)
                                                                                   :
                               - against -                                         :
                                                                                   :       DECLARATION OF
                                                                                   :      STEVEN R. POPOFSKY
AARON ETRA,                                                                        :
                                                                                   :
                                                   Respondent.                     :
- - - - - - - - - - - - - - - - - - - - - - - - - - - - - - - - - - - - - - - - -- x


           I, Steven R. Popofsky, declare the following:

          1.        I am affiliated with Kleinberg, Kaplan, Wolff & Cohen, P.C., counsel to

Petitioner and judgment creditor Benthos Master Fund, Ltd.                               I respectfully submit this

declaration in support of Petitioner’s motion to hold Respondent in conditional contempt of court

for his refusal to comply with judgment enforcement subpoenas for documents and information.

                                                        Introduction

          2.        It may be shocking to the Court, but is no longer shocking to Benthos and its

counsel, that this longtime member of the New York Bar, Respondent Aaron Etra, does not take

seriously his legal obligations. He has made clear in the past that he will respond to nothing less

than the threat of imminent incarceration for contempt of court. We therefore respectfully

request that a conditional order of contempt be issued making clear to him the consequences if he

does not promptly cease defying lawful subpoenas.

                                                 The Judgment At Issue

          3.        Petitioner holds a judgment against Respondent in the amount of $5,254,561.12

(Dkt. 15), pursuant to the Court’s August 12, 2020 Memorandum and Order (Dkt. 14)
    Case 1:20-cv-03384-VEC-KHP               Document 24         Filed 10/12/20        Page 2 of 12




confirming an arbitration award rendered on April 9, 2020. On August 26, 2020, the Court

allowed Petitioner to undertake judgment enforcement activities immediately (Dkt. 21).

                                The Underlying Arbitration Award

        4.      Respondent, an attorney, served as Escrow Agent in a transaction pursuant to

which Benthos transferred $5 million to his escrow account and was supposed to receive a

quantity of Bitcoin in response (Dkt. 14 at 1). The arbitrator, in his lengthy and detailed award

(Dkt. 1-1), found that Respondent’s subsequent transfer of $4.6 million of Benthos’s money to

Hong Kong and China was, in the words of the Court in its confirmation order, “unauthorized

and a breach of Respondent’s contractual and fiduciary duties” (Dkt. 14 at 4). As further

described by the Court, the arbitrator also found that “the breach was either the result of gross

negligence or willful misconduct” by Respondent (id.).

                               The Subpoenas Defied By Respondent

        5.      On August 27, 2020, Benthos served Respondent with a subpoena duces tecum

(Exhibit 1 annexed hereto) and a restraining notice with information subpoena (Ex. 2).1 The

subpoena duces tecum was comprehensive and sought documents, to the extent they may exist,

responsive to 59 separate categories.        The information subpoena, similarly, sought written

responses under oath to 36 questions. Respondent – a practicing lawyer, who has chosen not to

retain counsel in connection with judgment enforcement – at no time has served any objections

to any of the document or information requests.




1
 Respondent also was served with a restraining notice (Ex. 2). Benthos has reason to believe he is also in
violation of the restraining order, in addition to his demonstrated defiance of the two subpoenas at issue
here, and reserves the right to seek appropriate relief once sufficient supporting evidence is assembled to
present to the Court. This motion relates only to the subpoenas for documents and information, which
Respondent has ignored virtually in their entireties.

                                                    2
    Case 1:20-cv-03384-VEC-KHP            Document 24        Filed 10/12/20     Page 3 of 12




                              Accommodations Offered By Benthos

        6.      Responses to the document and information subpoenas were due on September

21, 2020. On September 2, 2020, Respondent wrote to Benthos’s counsel seeking a five-week

extension, until October 31st (Ex. 3), such that no responses at all would be due for more than

two months after service of the subpoenas (while Respondent was making no effort to satisfy the

outstanding $5 million judgment). Benthos’s counsel responded the next day that “if you timely

provide substantial responsive documents and information and need a reasonable bit of

additional time to complete your responses, we would respond reasonably. . . . You should be

getting your financial records (and other material) together, and preparing responses to the

information subpoena” (Ex. 4).

        7.      On September 15th, Respondent wrote to request “rescheduling all required action

on my part for dates as late as possible beginning with the week of October 12th” (Ex. 5).

Benthos’s counsel replied the next day (Ex. 6):

        Mr. Etra, as I wrote to you 13 days ago, “if you timely provide substantial responsive
        documents and information [on the due date of September 21,] and need a
        reasonable bit of additional time to complete your responses, we would respond
        reasonably.” Material such as – by way of example only – bank and brokerage
        account statements, credit card statements, real estate ownership and rent records,
        vehicle use and ownership, available cash and current living expenses, and recent tax
        returns are all readily available to you and could easily be assembled and provided.

        8.      Counsel also wrote to Respondent, at that same time, “[T]he arbitration award

was rendered in April, and . . . the judgment was issued on August 13 – you are a lawyer and

were at all times well aware of what would be required of you. Have you begun gathering

responsive material at all?” (id.).




                                                  3
    Case 1:20-cv-03384-VEC-KHP               Document 24         Filed 10/12/20       Page 4 of 12




        9.      Respondent replied the next day, September 17th, answered counsel’s question

with an unequivocal “yes,” and stated that “I will provide material on the [due date of] the 21st.”2

                                  Respondent’s Non-Compliance

        10.     On the date his subpoena responses were due, September 21, 2020, Respondent

provided no responses whatsoever to the information subpoena, and produced one (1) single

solitary document: a 2½ page unsigned purported “personal financial statement” (Ex. 8) that he

said he had prepared four months earlier. He produced no bank statements (although the

“financial statement” claimed that he had “checking accounts” worth $35,000, among other

accounts); no credit card statements (although the “financial statement” claimed $18,000 in

liabilities for “credit cards”); no tax returns; and literally nothing else concerning his finances or

responsive to the subpoena duces tecum.

        Benthos’s counsel then wrote to Respondent as follows (Ex. 9):

        Mr. Etra, what you have attached is a tiny, tiny fraction of what you were required to
        supply pursuant to the subpoena duces tecum, and you have sent no responses
        whatsoever to the information subpoena. Furthermore the two-page statement you
        have sent was, by your own admission, prepared by you in May, four months
        ago. Last week, I asked you whether you had “begun gathering responsive material,”
        and you responded “yes.” That appears to have been untrue. The subpoenas were
        served on August 27 and you appear to have done nothing at all to comply with either
        of them.

        On September 3 and again on September 16, I wrote to you that “if you timely provide
        substantial responsive documents and information [on the due date of September 21,]
        and need a reasonable bit of additional time to complete your responses, we would
        respond reasonably.” I further gave you examples last week of material that should be

2
  Respondent peppers virtually all of his communications with continued denials of his liability. In his
September 17th e-mail, to choose one particularly outrageous example, he sought to blame Benthos itself
for the loss of its money, notwithstanding that he not only had sent its escrowed funds to the Far East
without authorization and without informing Benthos, but also concealed those transfers when
information was requested at a time when it might have been possible to trace and recover the funds. As
discussed below, he disclosed what he had done with the funds entrusted to his attorney escrow account
only when threatened with imprisonment by the late Judge Batts. Nonetheless, he wrote on September
17th that “you and your clients know full well by this time that, at all times, I have acted honorably,
without personal benefit and always trying to assist the parties, including Benthos, to remedy the problem
of their own creation and for which I had no responsibility” (Ex.7).

                                                    4
   Case 1:20-cv-03384-VEC-KHP            Document 24        Filed 10/12/20     Page 5 of 12




       “readily available to you and could easily be assembled and provided,” including
       “bank and brokerage account statements, credit card statements, real estate ownership
       and rent records, vehicle use and ownership, available cash and current living
       expenses, and recent tax returns.” You have provided virtually none of that.

       Even in the hopelessly sparse two-page document you just sent, more questions are
       raised than answered, including (without limitation) to whom you pay your “housing
       and rent” charges, your wholly unidentified “other income sources” (which you claim
       constitute virtually the entirety of your monthly income), and what “checking
       account,” “savings accounts,” “stocks” and “investment accounts” you admit to
       having. . . .

       This is not a game. T]he time when your gamesmanship might buy you time is long
       since past. We told you on August 28, and again on September 3, that you did not
       appear to be taking this seriously, and your virtually non-existent purported response
       today – after telling us last week that you were gathering material and would provide
       it today – confirms that beyond any doubt.

       You have now failed to even try to comply with two subpoenas – whether you are in
       compliance with the restraining order remains to be seen, although we have our
       doubts – and we will give you one opportunity to remedy that before seeking to have
       you held in contempt of court. We expect – without prejudice to requiring complete
       responses shortly thereafter – a substantial response this week, including at least the
       items referred to in the second and third paragraphs above. Failing that, we will
       move to have you held in contempt of court without any further warnings. We do not
       believe Judge Nathan will look kindly upon your patent non-compliance, but the risk
       is yours if you wish to test that.

       11.    On September 27th, Respondent produced a one-page “Property Tax Notice” from

Haywood County, North Carolina (Ex. 10), attached to an e-mail stating, “I have no car. I am a

renter, of one apartment, and do not own a home. I am attaching the one piece of real estate, in

North Carolina that is worth $2,000 (see attached). I have a few shares of stock which generate a

few hundred dollars of income each year. My one credit card, on which is owed some $18,000,

was closed when your contact to M &T Bank resulted in all my accounts being first on hold and

then closed (I will try to send you a photo of that card account). What I sent you is truly the

picture, with the details not going to add up to more” (Ex. 11). That same day, Respondent sent

a portion of one page of a credit card statement (Ex. 12), without even identifying the full




                                               5
    Case 1:20-cv-03384-VEC-KHP               Document 24         Filed 10/12/20        Page 6 of 12




account number or providing the rest of that statement (or the other credit card and bank

statements subpoenaed).

        12.     Respondent has produced no other documents, not even the ones Petitioner’s

counsel had identified as presumably “readily available.” Nor has he even attempted to respond

to any of the requests in the information subpoena.

                   Respondent is a Sophisticated Lawyer and Businessperson

        13.     Before addressing Respondent’s history of non-compliance, it bears repeating that

he is, by his own admission on his website, “an attorney and businessman” who “has been a

practicing lawyer since 1966. His specialization is in the establishment and representation of

overseas interests in the United States as well as international transactions,” and he has

“practiced, taught and engaged in Law, Business, Trade, Development and International

Organizational Affairs in the U.S., U.K., Switzerland, the Netherlands and Africa. He holds a

J.D. degree from Columbia University, a LL.M. from New York University and a B.A. from

Yale University.” He is the “President/CEO” of a New York corporation “engaged in real estate

development, brokerage, management, marketing and consultancy as well as project

development, management and advisory services.” See Exhibit 13 annexed hereto, Respondent’s

very distinguished curriculum vitae presented to the public as late as this month on his webpage

aaron.etra.com.

        14.     In light of the foregoing, as well as the sophisticated scam Respondent

orchestrated that gave rise to the underlying judgment here,3 it is unlikely that Respondent’s net

worth is truly only $39,000 as he claims. Anything is possible, of course, but Benthos is without

3
  He is also evidently a serial misuser of funds entrusted to him as Escrow Agent. In 2016, New York’s
Appellate Division affirmed summary judgment against him for conversion of escrowed funds which he
“intentionally retransferred” without authorization and which “were never recovered.” Grasshoff v. Etra,
135 A.D.3d 574 (1st Dep’t. 2016). At oral argument in the lower court, Respondent claimed that the
money had appeared in his escrow account by “mistake” but then, according to the judge, he “sent [it] . . .
to . . . a friend of [his] . . . who profited illegally from that transaction” (Ex. 14 at 7).

                                                    6
   Case 1:20-cv-03384-VEC-KHP             Document 24       Filed 10/12/20     Page 7 of 12




doubt entitled to full compliance with its subpoenas in order to probe the veracity of that

implausible claim. Respondent is an experienced “attorney and businessman” who understands

full well the need to comply with subpoenas, and knows how to do so. He also, unfortunately,

knows how to manipulate, stall, and frustrate.        His brazenly improper conduct in 2018

demonstrates why this Court should cut him no slack in 2020.

                         Respondent Defied and Lied to Judge Batts,
                           Until Threatened With Imprisonment

       15.     In late August 2018, after Benthos had not received its contracted-for Bitcoin, and

after Respondent was not giving straight answers (to say the least) about what was going on,

Benthos hired counsel to request information from its Escrow Agent, Respondent Etra, about the

whereabouts of the $5 million it had entrusted to him (Ex. 15):

       Benthos demands that you immediately provide us with all details concerning the
       release of the Escrow Funds including but not limited to all banking and wire
       instructions, the identity, address and bank account information of all recipients of
       any portion of the Escrow Funds, [and] all communications . . . concerning the
       Contract or monies held in escrow.

       16.     It goes without saying that any legitimate Escrow Agent, including specifically a

member of the Bar, would have – and should have – responded to a request for “all details

concerning the release of the Escrow Funds” by providing, of course, precisely that: all details

concerning the release of the Escrow Funds.         Not Respondent.   He provided none of the

requested information, and continued to falsely assure Benthos that delivery of its Bitcoin was

imminent.

       17.     On September 28, 2018, Benthos’s counsel wrote again, to an individual whom

Respondent had identified as being his counsel (but who then denied acting as such) (Ex. 16):

       [W]e . . . expect responses from Mr. Etra (through you or otherwise), in his capacity
       as Escrow Agent, to at least the following questions:




                                                7
    Case 1:20-cv-03384-VEC-KHP                Document 24        Filed 10/12/20     Page 8 of 12




             1.       Of the $5 million deposited by our client into Mr. Etra’s escrow account
                      pursuant to the Escrow Agreement, how much, if any, is Mr. Etra
                      presently holding in escrow, and is he willing to return those remaining
                      funds to our client upon demand?

             2.       If Mr. Etra is holding money in escrow and is not willing to return it to our
                      client upon demand, is he willing to commit in writing not to transfer any
                      of that money without our client’s written consent (or a court order)?

             3.       Identify all transfers or disbursements made to date from the $5 million
                      escrowed with Mr. Etra, including at a minimum (i) the recipients of each
                      transfer, (ii) the amount transferred on each occasion, (iii) the written
                      instructions upon which each transfer was made, (iv) written confirmation
                      of each transfer, and (v) the bank account information and wire transfer
                      information (if any) associated with each transfer.

                   . . . As an Escrow Agent, [Mr. Etra] has very serious responsibilities and
                   obligations, of which he and you are surely aware. Providing basic information
                   about funds in his care and custody should not be difficult, and we are truly
                   perplexed why it was not provided in response to the August 31st letter. Please
                   do not make it necessary for us to resort to judicial remedies.

       18.         No information was provided, again. After a series of further lies and excuses by

Respondent, Benthos formally terminated the parties’ Escrow Agreement and demanded return

of any funds remaining in escrow (Ex. 17).

       19.         Respondent refused to return the balance of funds he was holding in escrow (later

determined to be $400,000). Accordingly, on October 15, 2018, Benthos filed in this court a

Petition For Preliminary Injunctive Relief In Aid of Arbitration. Eventually the late Honorable

Deborah Batts ordered Respondent Etra (and his co-respondent) to provide the following

information, “regarding transfers . . . made to date from the $5 million deposited by [Benthos]

into Etra’s IOLA Account” (Ex. 18) “on or before Friday, October 26, 2018 at 5:00 p.m.” (Ex.

19, referring to Ex. 18):

             (a)      the recipients of each transfer,
             (b)      the amount transferred on each occasion,
             (c)      the written instructions upon which each transfer was made,
             (d)      any written confirmation received of each transfer,

                                                     8
   Case 1:20-cv-03384-VEC-KHP                 Document 24        Filed 10/12/20      Page 9 of 12




             (e)        the bank account information and wire transfer information (if any)
                        associated with each transfer,
             (f)        the identities, if known to Etra, of any subsequent recipients of
                        Benthos’s escrowed funds pursuant to any transfers made of such
                        funds by Etra’s transferees, and
             (g)        the current or last known whereabouts of the said previously-
                        escrowed funds;

             [and] . . .

                   a.      provide copies of all communications between and among any of
                           himself, Valkyrie Group LLC, Valhalla Venture Group LLC,
                           Brandon Austin, Hugh Austin, Tracy Evans, “Dmitri,” and Ming
                           Hoang Le, or any of their affiliates, representatives and/or agents,
                           concerning the Bitcoin Agreement, the Escrow Agreement, and/or
                           the funds deposited by Benthos into Etra’s IOLA account;

                   b.      . . .; and

                   c.      disclose the name, address, telephone number, website and
                           identities of principals of any storage company at which any of the
                           funds deposited into escrow by Benthos, or any Bitcoin intended
                           for Benthos, has been held.

       20.         Etra provided no information or documents on October 26, 2018 as ordered (Ex.

20), and he made no effort to comply with the court’s order at any time before (or during) his

appearance at a hearing before Judge Batts on November 15, 2018.

       21.         The transcript of that court appearance is annexed as Exhibit 21. The full flavor

of Respondent’s dishonesty and defiance, a member of the Bar standing before a federal judge,

cannot be conveyed by summary, but the following points bear emphasis:

                  Judge Batts pointed out to Etra that as a lawyer, “You are an officer of the
                   court. You have ignored court orders. You have not done anything that
                   the Courts have ordered you to do” (Ex. 21 at 19).

                  The judge told Etra (and his co-respondent) that “[You] have given the
                   Court no reason – no reason – to expect that [you]’re going to obey Court
                   orders. Everything that has been ordered by either Judge Castel or by me
                   you have ignored. . . . [I]t seems to me that you are in contempt of Court. .
                   . . [Y]ou will be subject to being incarcerated. . . . Flagrant ignoring of
                   Court orders [is] inappropriate, unacceptable and will be dealt with

                                                     9
Case 1:20-cv-03384-VEC-KHP         Document 24        Filed 10/12/20      Page 10 of 12




        accordingly,” and she directed Plaintiff’s attorneys to file a contempt
        motion. (Ex. 21 at 5, 8, 19-20).

       Etra lied directly to Judge Batts’s face at least three times during the short
        hearing:

        o      Etra insisted to Judge Batts that “[Mr. Popofsky’s] client [Benthos]
               has been wanting us to do what we have [done]” – i.e., continue
               with the underlying Bitcoin transaction, meaning he was making
               the serious allegation that the undersigned counsel was proceeding
               in contravention of his client Benthos’s wishes (Ex. 21 at 11).
               When asked by the judge, “What proof do you have that his client
               wants you to do this?” (id.), he replied, “Response from his client,
               we have correspondence which we are happy to submit. . . . Your
               Honor, here is a correspondence from me to his client and the
               confirmation from his client . . .” (Ex. 21 at 12). That e-mail was
               dated more than three months prior to the court hearing (Ex. 21 at
               13), from a time that (as Etra well knew) was before Benthos had
               retained counsel. When called out on that, Etra then claimed, “I
               have subsequent correspondence right up through the middle of
               October, your Honor . . . [w]hich was sent to their client and
               response from their client” (id.); but when he was required to hand
               that over, it similarly was dated almost three months earlier (id.),
               on August 25, 2018 – hardly the “middle of October.”

        o      Etra walked into the court hearing and stated, “My counsel was
               planning to come to the hearing but as of yesterday he was
               completely laid low and has been unable to even communicate
               except via e-mail” (Ex. 21 at 2), notwithstanding that, as set forth
               by Benthos’s counsel in court, that individual actually had called
               Benthos’s counsel at approximately 4:00 PM that prior day and
               stated that he was “only a friend of Mr. Etra’s, . . . will not make
               an appearance for Mr. Etra, . . . does not represent Mr. Etra,” and –
               most importantly – did not claim any illness and (quite obviously)
               was not at all “unable to even communicate except via e-mail.”

        o      After Benthos’s counsel complained that Etra had “given nothing”
               in response to what he had been ordered to do by the court, Etra
               responded falsely, “Your Honor, that is totally incorrect” (Ex. 21 at
               11). In fact it was totally correct.

       Etra still resisted, incredibly, returning the $400,000 he was continuing to
        hold in escrow (Ex. 21 at 21).

       Judge Batts gave Etra a “[d]irect order” in no uncertain terms: “Listen to
        me: Return the $400,000 to the plaintiff immediately” (Ex. 21 at 24).



                                         10
   Case 1:20-cv-03384-VEC-KHP             Document 24       Filed 10/12/20      Page 11 of 12




              The judge also set a briefing schedule for a contempt of court motion and
               told Etra, “I am telling you, do not make any plans for the holiday because
               if you do not comply with the order signed . . . by me on October 19th, . . .
               you will be going to jail” (Ex. 21 at 22). She concluded (Ex. 21 at 24), “I
               am warning you, . . . pack your toothbrush.”

       22.     Following Judge Batts’s direct order and threat of jail, Etra did wire the $400,000,

finally, to Benthos’s counsel. He did not comply with the rest of the judge’s order, after which

Benthos moved to hold him in contempt of court.           In response to that contempt motion,

Respondent finally produced some responsive e-mails and documents. His production was

woefully incomplete in several substantive respects, and gave rise to subsequent correspondence

with the Court. Ultimately, Judge Batts ruled that the high standard for civil contempt had not

been met, and that “[a]lthough Etra’s efforts may not have produced perfect compliance, Benthos

has failed to demonstrate that [in the end] Etra deliberately disregarded . . . the Court’s Orders”

(Ex. 22 at 8-10).

                                 Relief Sought On This Motion

       23.     It is evident from all of the foregoing – in both 2020 and 2018 – that (i)

Respondent is determined to defy Benthos’s subpoenas, and to conceal from his judgment

creditor documentation and truthful information about his current and historical finances, for as

long as possible; (ii) he is reasonably skilled at doing so; (iii) he will not comply for so long as

he feels he can get away with resisting; and (iv) he is cavalier, to say the least, about obeying

court orders. It is thus more than reasonable to infer that he will respond only to the risk of a

contempt finding and the ensuing coercion of threatened incarceration.

       24.     Accordingly, a mere court order will play right into Respondent’s strategy of

delay. It will take some time before this motion can be heard and decided, and if the Court

orders Respondent to comply with the subpoenas, it will give him an additional period of time in

which to do so – and then he will not do so. Benthos will then have to take the additional time



                                                11
   Case 1:20-cv-03384-VEC-KHP            Document 24       Filed 10/12/20      Page 12 of 12




(and incur the additional expense) of yet another motion, for contempt, which itself will take

time to be heard and decided; and only if and when the Court gives Respondent a deadline to

comply and threatens contempt for further defiance, could Benthos (perhaps) expect some

documents and information.

       25.     We respectfully urge the Court not to let Benthos be further victimized by this

master manipulator. Instead of the prolonged process above, on which Respondent is relying to

buy him yet more time – during which he will have continued opportunity to move any hidden

assets (and we know he travels to Europe frequently) – we should proceed straight to the

endgame: Respondent should be told, in no uncertain terms, that if he does not comply, in full,

with the judgment creditor’s outstanding subpoenas by an imminent date certain, he will be held

in contempt of court and incarcerated until he complies. That, and only that, is likely to produce

some level of compliance.

In accordance with 28 U.S.C. Section 1746, I declare under penalty of perjury under the laws of
the United States of America that the foregoing is true and correct.

Executed on October 12, 2020.



                                                          /s/ Steven R. Popofsky
                                                            Steven R. Popofsky




                                               12
